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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


WAYNE BLAND, on behalf of himself and all
others similarly situated,

               Plaintiff,                                Case No.
       v.


EDWARD D. JONES & CO., L.P. and THE
JONES FINANCIAL COMPANIES, L.L.L.P.,                     Jury Trial Requested

               Defendants.




                                          COMPLAINT

       Plaintiff Wayne Bland, on behalf of himself and all others similarly situated, by and

through his attorneys, Stowell & Friedman, Ltd., hereby files this complaint of race

discrimination against Defendants, Edward D. Jones & Co. L.L.P. and The Jones Financial

Companies, L.L.L.P. (collectively “Edward Jones,” “Defendant,” or “the Firm”), and in support

states as follows:

       1.      Edward Jones claims to be a leader in the financial services industry and to serve

“nearly 7 million investors from more offices than any other investment firm in America.” 1 As

of year-end 2017, Edward Jones managed over $1 trillion in client assets and employed over

16,000 registered brokers, called Financial Advisors (“FAs”), to service largely individual

investors in more than 13,000 locations across the United States. 2



1
 https://www.edwardjones.com/about/index.html.
2
 The Jones Financial Companies, L.L.L.P., 10-K Report for fiscal year ended December 31, 2017 at 29,
33.
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        2.      African Americans are under-represented both as FAs 3 and in management at

Edwards Jones, and are paid substantially less than their counterparts who are not African

American. These disparities result from Edward Jones’s systemic, intentional race

discrimination and from policies and practices that serve no reasonable business purpose yet

have a disparate impact on African Americans.

        3.      Plaintiff, and the class he seeks to represent, alleges that Edward Jones employs

company-wide policies and practices regarding training, compensation, partnerships, and the

assignment of territories, business opportunities and sales support that unlawfully segregate its

workforce and deny African Americans the income and advancement opportunities because of

their race.

        4.      Plaintiff has filed this lawsuit to hold Edward Jones accountable for its unlawful

treatment of African Americans and to achieve meaningful reform. This lawsuit is brought by

Plaintiff on behalf of himself and other African American FAs who work or worked for the Firm

and have been harmed by its company-wide pattern or practice of race discrimination and

discriminatory policies and practices. This action seeks class-wide injunctive relief and an end

to Edward Jones’s discriminatory practices.

                                      JURISDICTION AND VENUE

        5.      Plaintiff’s claims arise under 42 U.S.C. § 1981. 4 This Court has jurisdiction over

this matter pursuant to 28 U.S.C. §§ 1331 and 1343.

        6.      Venue is proper in the Northern District of Illinois pursuant to 28 U.S.C.

§1391(b). Defendant is licensed to do business and maintains a number of branch offices in this


3
 As used herein, Financial Advisors include and refer to both tenured and trainee FAs.
4
 Plaintiff intends to amend this Complaint to add individual and class claims of disparate impact and
disparate treatment discrimination under Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.
§§ 2000e, et seq,. after he has exhausted his administrative filing requirements.


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District. Defendant also services clients who are residents of this District. The unlawful conduct

alleged in this Complaint occurred in this District and across the United States.

                                                PARTIES

          7.      Edward D. Jones & Co., L.P. is a wholly owned subsidiary of The Jones Financial

Companies, L.L.L.P., a limited liability limited partnership headquartered in St. Louis, Missouri.

The Firm earned net revenue of approximately $7.6 billion for the fiscal year ended December

31, 2017, and it generated $872 million of income before its allocations to partners. 5

          8.      Edward D. Jones & Co., L.P. is registered with the Securities and Exchange

Commission as a broker-dealer and is a member organization of the Financial Industry

Regulatory Authority (“FINRA”). As part of its brokerage, investment advisory and financial

and wealth planning services, Edward Jones employs over 16,000 registered brokers, or FAs,

across the United States.

          9.      Plaintiff Wayne Bland (“Bland”) is an African American who was employed as

an Edward Jones Financial Advisor from November 2014 until March 2016. Throughout his

tenure, and pursuant to Defendant’s pattern or practice of discrimination and company-wide

discriminatory policies, Bland was denied resources and business opportunities, including

lucrative client accounts, favorable offices and territory, sales and administrative support, and

inclusion in favorable broker teams and pooled accounts, on account of his race. Bland has been

treated worse than similarly situated Edward Jones employees who are not African American.

Bland has lost income and otherwise been harmed as a result of Defendant’s unlawful conduct.




5
    The Jones Financial Companies, L.L.L.P., 10-K Report for fiscal year ended December 31, 2017 at 28.


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                                  FACTUAL ALLEGATIONS

       10.     Edward Jones maintains stereotypical views about the skills, abilities and

potential of African Americans that infect and form the basis of the centralized policies and

practices challenged by this lawsuit. Because of these stereotypical views, African Americans

are significantly under-represented among Edward Jones FAs, approximately 94% of whom are

white. Although the financial services industry has made some strides in improving the

representation of minorities in the workforce, Edward Jones lags well behind the national

average. In a 2015 Forbes interview, company Chief Executive Officer (CEO) Jim Weddle

reported that just 6% of Edward Jones FAs were diverse (including Latino, Asian and African-

American). 6 This is well below the Census Bureau’s reported 21% minority representation for

financial advisors nationally. 7 Edward Jones’s 6% representation for all minorities even lags

behind the nationwide representation of 8.1% for African American advisors alone.

       11.     Edward Jones maintains centralized control over its wealth management business

from its company headquarters, where an almost exclusively white team of senior executives

issues company policies that apply to all FAs. Edward Jones compensates its FAs pursuant to

uniform, nationwide compensation plans issued every year. The Firm’s FAs are compensated

based on commissions earned from client transactions. While not an absolute rule, the greater

the value of assets managed by an FA, the greater the FA’s potential commissions and earnings.

As FAs achieve greater financial success, they can advance along the compensation model

allowing for greater payout. Pursuant to Edward Jones’s Practice Management Model, FAs are

evaluated, ranked, and compared to their counterparts across the country based on commissions

earned. Accordingly, a level playing field and a fair distribution of resources and business

6
  http://www.forbes.com/sites/danschawbel/2015/03/29/jim-weddle-recruiting-the-next-generation-of-
financial-advisors/2/#9f38a9450f2b
7
  http://www.investmentnews.com/article/20151214/FEATURE/151209979/a-diversity-problem.


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opportunities are essential. Unfortunately, Defendant’s uniform, Firm-wide policies and

practices regarding training, teaming, and the assignment of offices, territories, client accounts

and other lucrative business opportunities, and administrative and sales support favor non-

African American FAs and result in significant racial disparities in compensation and attrition.

These policies and practices are not justified by business necessity but have a disparate impact

on African Americans.

       12.     The disparities in resources and business opportunities begin during a structured,

Firm-wide training program for all new FA hires at Edward Jones (“Training Program”). The

Training Program is supposed to provide FAs an equal start, but it disadvantages African

American FAs from the beginning of their Edward Jones careers.

       13.     The Firm assigns new FAs to one of two paths: as a stand-alone FA working from

home, or by being assigned to a “Legacy” or “Goodknight” partnership and office. FAs who are

not provided the opportunity to join a Legacy or Goodknight partnership receive minimal

support from the Firm and must begin their career at Edward Jones without a dedicated office,

assistance from a Branch Office Administrator, or mentorship from an established FA. FAs

assigned to the Legacy program receive dedicated office space, client assistance from a Branch

Office Administrator, and mentoring from an established FA. The Firm provides FAs assigned

to the Goodknight program office space, mentorship, and an agreement with an established FA to

share assets. The dedicated support the Firm provides to the Legacy and Goodknight programs

allows those FAs to attract more clients and accounts than stand-alone FAs. These accounts and

clients in turn lead to higher compensation and substantially higher success rates at the Firm.

For example, the Firm claims that FAs in Goodknight partnerships have an 80% chance of

success, a rate double that of new FAs who are not given such opportunity. However, as a result




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of racial stereotypes and discrimination, African American FAs are disproportionately excluded

from the Legacy and Goodknight programs, to their distinct disadvantage under Defendant’s

policies. To the extent they gain admission to these programs, they do not receive the same

support or resources. These disadvantages compound as the FA’s career progresses.

       14.     Edward Jones’s territory and office assignment policies and practices harm

African Americans. The Firm disproportionately relegates African American FAs to territories

and offices in less lucrative locations with less investable income and that are less productive for

the FA. The Firm also reserves territories with greater investment opportunities for non-African

American FAs in order to race-match its FAs to the neighborhood demographics.

       15.     Edward Jones maintains policies and practices that disproportionately steer

lucrative business opportunities, including client accounts, to FAs who are not African

American. Pursuant to company policies and practices, the Firm distributes books of business, in

whole or in part, when FAs move offices or leave the Firm. The Firm assigns larger and more

lucrative books of business and offices to FAs who are not African American. As a result,

African American FAs lose compensation and advancement opportunities.

       16.     The Retirement Transition Plan similarly harms African American FAs by

denying them access to the most lucrative client accounts, those of retiring FAs. Under Firm

policies, retiring FAs are encouraged to select and team with other FAs at the Firm to distribute

their books of business upon retirement. Edward Jones allows a retiring FA to transition his or

her clients to other FAs, with Firm approval, over a period during which the receiving FA meets

the retiring FA’s clients. Under these policies and practices, retiring FAs overwhelmingly select

white FAs to inherit their books of business. African American FAs are not selected for these




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lucrative teams, and are shut out of large client account transfers. Adding further harm, African

American FAs are then forced to compete with the FAs who inherit these books of business.

       17.     In sum, Defendant has and is engaged in an ongoing nationwide pattern and

practice of race discrimination and knowingly employs company-wide policies and practices that

have a disparate impact on African Americans. Defendant’s systemic discrimination against

African Americans includes, but is not limited to, the following practices:

       a)      failing to hire African American FAs and employing discriminatory hiring

               policies and practices;

       b)      employing discriminatory training policies and practices;

       c)      employing discriminatory policies and practices regarding the Goodknight and

               Legacy programs;

       d)      employing discriminatory policies and practices regarding the assignment of

               offices and territory;

       e)      employing discriminatory policies and practices regarding the transfer and

               assignment of client accounts, leads, referrals, and other business opportunities;

       f)      employing discriminatory policies and practices regarding teaming, partnerships,

               and pooling;

       g)      employing discriminatory compensation and training cost policies and practices;

       h)      employing discriminatory policies and practices regarding job assignments,

               advancement, and promotion;

       i)      employing policies and practices regarding the assignment of administrative and

               sales support and other resources and business opportunities that favor whites and

               harm African Americans;




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       j)      employing discriminatory policies and practices regarding the Firm’s Retirement

               Transition Plan;

       k)      employing policies and practices that disproportionately disadvantage African

               American FAs and/or that reinforce, amplify, and continue past discrimination or

               customer bias;

       l)      failing to apply and enforce Edward Jones policies in a consistent, race neutral

               fashion, to the detriment of African American FAs;

       m)      retaliating against African Americans who complain of discrimination;

       n)      employing policies and practices that have a disparate impact against African

               Americans; and

       o)      terminating African Americans on account of race and/or due to diminished

               performance and/or production that was lower than it would have been, but for the

               unlawful conduct of Edward Jones.

       18.     The intentional and disparate impact discrimination described above is ongoing

and constitutes a continuing violation of the civil rights laws. The racially discriminatory

policies and practices at Edward Jones are uniform and national in scope. Class members relying

on Plaintiffs to protect their rights work or worked at Edward Jones offices across the country

and were harmed by these same policies and practices.

Plaintiff Was Subjected To and Harmed By Defendants’ Unlawful Conduct

       19.     Plaintiff Wayne Bland joined Edward Jones in 2014 after working in the financial

services industry for over a decade. Despite his experience, Edward Jones denied Bland business

opportunities and resources regularly given to white FAs at the Firm.




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       20.     After obtaining his licenses, Bland asked to prospect in an affluent and

predominantly white neighborhood. Pursuant to its racial steering practices, Edward Jones

refused Bland’s request and instead assigned a white FA with less experience to prospect in the

affluent neighborhood. The Firm assigned Bland to prospect in a lower-income neighborhood

with a large African American population. Bland later learned that the Firm knew this assigned

territory was not economically viable or capable of sustaining a successful financial advisory

business, as the Firm had closed an office there for that reason.

       21.     Bland was denied the opportunity to join a Goodknight partnership, which would

have allowed an established FA at Edward Jones to transfer assets and mentor him. Bland was

also denied a Legacy partnership and forced to work from his home for a substantial period of

time, further hampering his ability to attract clients because he lacked the trappings and

legitimacy of a professional office. In contrast, non-African American FAs were placed on

Goodknight and Legacy partnerships and were given office space upon hire.

       22.     After five months of working from his home and repeatedly requesting access to

an office or inclusion in the Legacy or Goodknight programs, the Firm finally allowed Bland

access to an office in Lake Wylie. This occurred only because Bland negotiated directly with the

senior FA at that office. However, Bland’s office was a storage room filled with a dining table,

boxes and office supplies. When the senior FA who managed the Lake Wylie office left the

Firm, Edward Jones assigned the office and the departing FA’s tens of millions of dollars in

client accounts to a white FA who had begun the Training Program months after Bland and

lacked his financial services experience.




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       23.     Throughout Bland’s tenure, he was also denied administrative and sales support,

as well as valuable client accounts and books of business, which the Firm assigned instead to

white FAs, including newly hired, junior white FAs.

       24.     Although the Firm took little or no interest in Bland’s career or professional

development, it assigned him the unpaid role of “Diversity Inclusion Specialist” for his region.

In this role, Bland saw firsthand the Firm’s empty lip-service to diversity and its abysmal

commitment to equal employment opportunities. After being the target of racially hostile

statements, Bland engaged in protected activity by reporting this misconduct to management, to

no avail; worse, the Firm targeted him for retaliation and further discrimination.

       25.     Plaintiff, like other African American FAs, suffered substantial harm as a result of

Defendant’s unlawful policies and practices. Among other things, Plaintiff was denied

membership in and benefits of favorable teaming relationships due to his race. Although many

FAs departed or retired from Plaintiff’s region and regions in which other African American FAs

worked, Plaintiff and others similarly situated were denied valuable client account transfers and

distributions. Additionally, Defendant’s policies and practices regarding the assignment of

territories and resources hindered Plaintiff and others similarly situated from developing

successful businesses and earning income by denying them access to lucrative territories, proper

support, resources, and business opportunities.

       26.     Plaintiff and others similarly situated lost wages and other benefits, and suffered

emotional distress, other nonpecuniary losses, and irreparable injury to their careers as a result of

Edward Jones’s conduct. Defendant’s actions have caused and continue to cause Plaintiff and

others similarly situated substantial losses in earnings, management opportunities, and other

employment benefits, in an amount to be determined by a jury.




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                                    CLASS ALLEGATIONS

         27.   Plaintiff brings this action pursuant to Rule 23 of the Federal Rules of Civil

Procedure on behalf of a class of African Americans who work or worked for Defendant as

Financial Advisors or Financial Advisor Trainees and who were subjected to discrimination by

Defendant due to their race. All requirements of class certification are met by the proposed

class.

         28.   The class of African American employees and former employees is so numerous

that joinder of all members is impracticable. Fed. R. Civ. P. 23(a)(1).

         29.   There are questions of law and fact common to the class, and those questions can

and should be resolved in a single proceeding that furthers this litigation. Fed. R. Civ. P.

23(a)(2).

         30.   The claims alleged by Plaintiff are typical of the claims of the class members.

Fed. R. Civ. P. 23(a)(3).

         31.   Plaintiff will fairly and adequately represent and protect the interests of the class.

Fed. R. Civ. P. 23(a)(4).

         32.   The issues of determining liability and equitable relief, among other issues are

appropriate for issue certification under Rule 23(c)(4), as are other common issues.

         33.   The proposed class also meets the requirements for certification under Rule

23(b)(2) and Rule 23(b)(3). The questions of law and fact common to the members of the class

predominate over any questions affecting only individual members, and a class action is superior

to other available methods for the fair and efficient adjudication of the controversy. Fed. R. Civ.

P. 23(b)(3).




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                                              COUNT I

                            RACE DISCRIMINATION IN VIOLATION
                                 OF 42 U.S.C. SECTION 1981

       34.      Plaintiff, on behalf of himself and those similarly situated, realleges paragraphs 1

through 33 and incorporates them by reference as though fully stated herein as part of Count I of

this Complaint.

       35.      Section 1977 of the Revised Statutes, 42 U.S.C. § 1981, as amended, guarantees

persons of all races the same right to make and enforce contracts, regardless of race. The term

“make and enforce” contracts includes the making, performance, modification, and termination

of contracts, and the enjoyment of all benefits, privileges, terms, and conditions of the

contractual relationship.

       36.      Defendant maintained a nationwide set of uniform, discriminatory employment

practices and engaged in a pattern or practice of systemic race discrimination against African

Americans that constitutes illegal intentional race discrimination in violation of 42 U.S.C. §1981.

                                      PRAYER FOR RELIEF

             WHEREFORE, on behalf of himself and the class he seeks to represent, Plaintiff

respectfully requests that this Court find against Defendant as follows:

       a.       Certify this case as a class action;

       b.       Designate Plaintiff as Class Representative and designate Plaintiff’s counsel of

                record as Class Counsel;

       c.       Declare that Defendant’s acts, conduct, policies and practices are unlawful and

                violate 42 U.S.C. Section 1981;




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  d.    Declare that Edward Jones engages in a pattern and practice of racial

        discrimination against African Americans and employs policies and practices that

        have an unlawful disparate impact on African Americans;

  e.    Order Edward Jones to reform it discriminatory policies and practices;

  f.    Order Plaintiff and all others similarly situated reinstated to their appropriate

        positions, promotions, and seniority, and otherwise make Plaintiff whole;

  g.    Award Plaintiff and all others similarly situated the value of all compensation and

        benefits lost and that they will lose in the future as a result of Edward Jones’s

        unlawful conduct;

  h.    Award Plaintiff and all others similarly situated compensatory and punitive

        damages;

  i.    Award Plaintiff and all others similarly situated prejudgment interest and

        attorneys’ fees, costs, and disbursements, as provided by law;

  j.    Award Plaintiff and all others similarly situated such other make whole equitable,

        injunctive and legal relief as this Court deems just and proper to end the

        discrimination and fairly compensate Plaintiff;

  k.    Award Plaintiff and all others similarly situated such other relief as this Court

        deems just and proper.




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                              DEMAND FOR A JURY TRIAL

       Plaintiff hereby demands a jury trial as provided by Rule 38(a) of the Federal Rules of

Civil Procedure.

                                     Respectfully submitted on behalf of Plaintiff and those
                                     similarly situated,

                                     STOWELL & FRIEDMAN LTD.


                                     By:    /s/ Linda D. Friedman


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